Case 3:10-cr-00113-FLW Document1 Filed 02/23/10 Page 1 of 1 PagelD: 1

 

PROB 22 DOCKET NUMBER (Tran. Cours)

(Rev. 2/88)
TRANSFER OF JURISDICTION 1:04CR00002-001 (KAD

 

Rio. Wy Elly )

 

NAME AND ADDRESS OF SUPERVISED RELEASEE: DISTRICT . DIVISION 7

Warren Jones Moore Delaware Wilmington
22 Allegheny Drive
Bordentown, New Jersey 08505

 

 

NAME OF SENTENCING JUDGE
The Honorable Kent A. Jordan

DATES OF PROBATION/SUPERVISED FROM TO
RELEASE: November | November
21, 2008 20, 2013

 

 

 

 

 

OFFENSE
Bank Fraud (3 cts.) 18 U.S.C. § 1341

 

PART | - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE

 

IT1S HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the Jurisdiction of the probationer named above be
transterred with the records of the Court to the United States District Court for the District of New Jersey upon that Court's
order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation may be changed
by the District Court to which this transfer is made without further inquiry of this Court.*

 

DO See.

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Date Yrited tes Wibrict Judge Vv

 

 

*This sentence may be deleted in the discretion of the transferring Court,

 

PART 7 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

 

 

If IS HEREBY ORDERED that jurisdiction over the above-named supervised releasee be accepted and
assumed by this Court from and after the entry of this order,

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Effecitve Date United States District Judge r

 

 

 

 

 
